Case 1:12-cV-10615-GHK-AGR Document 1 Filed 12/11/12 Page 1 of 10 Page |D #:7

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Attorneys for Plaintiff,
Daniel Perez

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Daniel Perez,
Plaintiff,
vs.

The Hartford Life and Accident Insurance
Company; and DOES 1-1(), inclusive,

Defend ants .

 

 

 

 

 

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COMPLAINT FOR VIOLATION `()F
THE TELEPHONE CONSUMER
PROTECTION ACT, 47 U.S.C. § 227,
ET. SEQ. AND INVASION OF
PRIVACY

JURY TRIAL })EMANDED

 

COMPLAINT FOR DAMAGES

 

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For this Complaint, the Plaintiff, Daniel Perez, by undersigned counsel, states
as follows:

JURISDICTION

l. This action arises out of Defendants’ repeated violations of the
Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

2. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b), in that
Defendants transact business here, Plaintiff resides in this judicial district, and a

substantial portion of the acts giving rise to this action occurred here.

PARTIES

4. The Plaintiff, Daniel Perez (hereafter “Plaintifi”), is an adult individual
residing in Carson, California.

5. Defendant, The Hartford Life and Accident Insurance Company
(“Hartford”), is a Connecticut business entity With an address of 50 Weston Street,
Hartford, Connecticut 06120-1537.

6. Does l-lO (the “Agents”) are individual agents and/or employees,
employed by Hartford and Whose identities are currently unknown to the Plaintiff.
One or more of the Agents may be joined as parties once their identities are disclosed
through discovery.

7. Hartford at all times acted by and through one or more of the Agents.

 

2 COMPLAINT FOR DAMAGES

 

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FACTS

8. Beginning in or around May of 201 l, Hartford began calling Plaintiff’s
cellular telephone number, XxX-xXX-9764. At all times herein mentioned, Hartford
called Plaintiff’s cellular telephone using an automated telephone dialer system
(“ATDS”) and using a telephone facsimile machine to send unsolicited material to
Plaintiff.

9. Plaintiff has no prior business relationship with Hartford and never
provided Hartford with his cellular telephone number or any other contact
information

lO. Plaintiff never requested that Hartford contact him using an ATDS or a
telephone facsimile machine.

ll. Each time Plaintiff answered a call from Hartford, there was never a live
person with whom Plaintiff could speak. Instead, during each call from Hartford,
Plaintiff heard the beeping of a facsimile machine indicating that Hartford was
attempting to send a faX to Plaintiff using a telephone facsimile machine.

l2. The calls from Hartford often times were made to Plaintiff during the
early morning hours, sometimes before 5 a.m. Often times Hartford would make
successive calls to Plaintiff in a single day, placing calls one after other. On one

occasion, Hartford placed seven calls to Plaintiff, all within minutes of each other.

 

3 COMPLAINT FOR DAMAGES

 

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13. In or around May of 2011, Plaintiff contacted Hartford in an attempt to
get the calls to stop. Plaintiff informed Hartford of the calls, and instructed that
Hartford cease all calls to him. Plaintiff further informed Hartford that he had never
requested any communications from Hartford, nor did he desire any services from
Hartford. Plaintiff further informed Hartford that although he had a Maryland area
code, he resided in California and the early morning calls to him were upsetting and
disrupting his sleep.

l4. Hartford thereafter continued placing calls to Plaintiff’s cellular phone at
an excessive and harassing rate as aforementioned

15. Plaintiff contacted Hartford on at least four separate occasions since May
of 2011, each time requesting that Hartford cease all calls to him. Despite these
repeated requests, Hartford continued to place calls to Plaintiff.

16. During one of Plaintiff’s calls to Hartford, Plaintiff was advised that
Hartford could not remove his number and it was therefore unable to cease contacting
him.

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VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT -
47 U.S.C. § 227, et seq.

l7. The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

 

4 COMPLAINT FOR DAMAGES

 

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18. Without prior consent the Defendants contacted the Plaintiff by means of
an automated telephone dialing system at a cellular telephone or pager in violation of
47 U.S.C. § 227(b)(l)(A)(iii).

l9. Without prior consent, the Defendants contacted the Plaintiff by means of
a telephone facsimile machine to deliver an unsolicited advertisement in violation of
47 U.S.C. § 227(b)(l)(C).

20. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the Telephone Consumer Protection Act, including one or
both of the above-cited provisions.

2l. Plaintiff is entitled to damages as a result of the Defendants’ violations.

22. Hartford’s continued calls at unreasonable times and at an excessive rate

despite Plaintiff’s request to stop was willful and intentional

M
INvAsIoN oF PRIvACY BY INTRUSIoN UPoN sECLUSIoN

23. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

24. The Restatement of Torts, Second, § 652B defines intrusion upon
seclusion as, “One who intentionally intrudes. . .upon the solitude or seclusion of
another, or his private affairs or concerns, is subject to liability to the other for

invasion of privacy, if the intrusion would be highly offensive to a reasonable person.”

 

5 COMPLAINT FOR DAMAGES

 

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25. California further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated California state law.

26. The Defendants intentionally intruded upon Plaintiff’s right to privacy by
continually harassing Plaintiff with the above referenced telephone calls,

27. The telephone calls made by the Defendants to Plaintiff were so
persistent and repeated with such frequency as to be considered, “hounding the
plaintif ,” and, “a substantial burden to her existence,” thus satisfying the Restatement
of Torts, Second, § 652B requirement for an invasion of privacy.

28. The conduct of the Defendants in engaging in the illegal collection
activities resulted in multiple invasions of privacy in such a way as would be
considered highly offensive to a reasonable person.

29. As a result of the intrusions and invasions, the Plaintiff is entitled to
actual damages in an amount to be determined at trial from the Defendants.

30. All acts of the Defendants and its agents were committed with malice,
intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

 

6 COMPLAINT FOR DAMAGES

 

 

 

Case 2:12-cV-10615-GHK-AGR Document 1 Filed 12/11/12 Page 7 of 10 Page |D #:13
1 A. Statutory damages of $500.00 for each violation pursuant to 47 U.S.C. §
2
3 227(b)(3)(B);

4 B. Treble damages for each violation determined to be willful or
5 intentional pursuant to 47 U.S.C. § 227(b)(3)(C);
6
7 C. Such other and further relief as may be just and proper.
8 TRIAL BY JURY DEMANDED ON ALL COUNTS
9
10 DATED: December 5, 2012 TAMMY HUSSIN
11
12 M
13 By:
14 Tammy Hussin, Esq.
Lemberg & Associates, LLC
15 Attomey for Plaintiff, Daniel Perez
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7 COMPLAINT FOR DAMAGES

 

 

 

Case 2:12-c\/- 10615- GHK- AGR Document 1 Filed 12/11/12 Page 8 of 10 Page |D #: 14

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CAL]FORNIA
CIV]L COVER SHEE']

 

I (a) PLAIN'I`IFFS (Check box if you are representing yourself [§I) DEFENDANTS

Daniel Perez The Hartford Lifer_and Accident Insurance Company

 

(b) Attomeys (Firm Name, Address and Telephone Number. Ifyou are representing Attomeys (IfKnown)

},'ourselfl provide same.)
Tammy Hussin, 5404 Merlin Drivc, Carlsbad, CA 92011

855»301-2300 X 5514
Lemberg & Associates, 1100 Sumrner St 3rd Fl Stamford CT 06905 2036532250

 

 

II. BASIS OF JURISDICT[ON (Place an X in one box only.) III. CITIZ.ENSHIP` OF PR]NCIPAL PARTIES - For Diversity Cases Only
(Place a.u X in one box for plaintiff and one for dcfendant.)
13 l U.S‘ Governroeot Plaintiff 213 Federai Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizon of This State Cl l 1:| 1 Incorporated or Principal Place E 4 111 4
ofBusincss in this State
111 2 U.S. Government Defendant |:1 4 Diversity (Indicate-Citizenship Citizen of`Anotber State 1:| 2 |:1 2 lncorporated and Principal Place 111 5 111 5
of Pa.ttics in Item U.l] ofBusincss in Another Statc
Citizen or Su`bject of a Foreign Country 121 3 111 3 Foreign Nation |I| 6 111 6

 

 

IV. ORIGI_N (Place an X in one box only.)

1261 Original |J 2 Rcmoved B'om 111 3 Rcmanded from 121 4 Reinstated or E|'$ Trartsfcrred from another distn`ct (specify): 111 6 Multi- 111 7 Appeal to District
Proceeding Statc Coul't Appellaic Cou.rt Reopeued D!`Stl'ict ludge from
litigation Magistrate Judge

 

V. REQUES'I`ED IN COMPLAINT: JURY DEMAND: E(Yt:s 111 No (Chesk ‘Yes’ only if demanded in complaint.)
!(MONEY DEMANDED lN COMPLAINT: $ DE-m@-Eess fees, COST$

CLASS ACTION under F.R.C.P. 23: 111 Yes 137 No

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement ofcaose. Do not cite jurisdictional statutes unless diversity.)
47 U.S.C. 227 - Violations of the Telephone Consumer Pract'ices Act ‘

VII. NATURE OF SUIT (Place an X in one box only.}

 

 

 

 

 

 

 

 
 

  

 

 

   
 

  
 

  
 

 

 
 

 

 
 
 
 

 

  

 

     

     

 

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FOR OFFICE USE ONLY:
AFTER COMPLETING THE FRONT SIDE OF I¢`ORM CV-'/'l, COMPLETE THE lNFORMA'I`ION REQUES'[`ED BELOW.

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Case Nu.mber:

 

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CIVIL COVER SHEET

Pttge l of2

Case 2: 12- -C\/- 10615- GHK- AGR Document 1 Filed 12/11/12 Page 9 of 10 Page |D #: 15
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT or cALIFORNLi
CIV[L COVERSHEET

V'III(B.). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? |§’No 111 ch
Ifyes, list case number(s):

 

VIII(h). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? |!(No I:] Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed ease and the present csse:
(Check all boxes that apply) 111 A. Arise from the sarne or closely related transactions, happenings, or events; or
13 B. Call for determination of the same or substantially related or similar questions of law and fact; or
E| C. For other reasons would entail substantial duplication of labor if heard by different judges; or
111 D. lnvolve the same patentl trademark or copyright, gang one of the factors identified above in a, b .or c also is present.

 

X. VENUE: (When completing the following information use an additional sheet if necessary.)

(a) List the County in this Distn`ct; California County outside of this District; State if other than Califomia', or Foreign Cou.nlry, in which EACH named plaintiff resides.
11 Check here if the governmentl its agencies or employees is a named plaintiii`. If this box is ehecked, go to item (b).

 

County in this District:* California County outside of this District; State, if` other than California; or Foreign Country

 

County of l'_.os Angeles

 

(b) List the County in this District; California County outside of this Distrlct; State if other than California; or Foreign Country, in which EACH named defendant residesl
El Check here if the government, its agencies or employees is a named defendantl If this box is cheeked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

_State of Connecticut

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in Whieh EACH claim arose.
Note: ln land condemnation cases, use the location of the tract of land lnvolved.

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

 

County of Los Angeles

 

 

 

 

* Los Angcles, Orange, San Bernardlno, Rlverside, Ventnra, Santa Barbara, or San Lnis Obispn Counties
Note: ln land condemnation cases. use the location of the tract oflsnd involved

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X. stott/truss or A'rrottnnv (on rao saint `<‘"`"*i‘£i“‘ otte December 5, 2012
Notit:e to Counsel/Partlcs: The CV-7l (18“44) Civil Cover Sheet and the information contained herein neitherreplaoe nor supplement the filing and service of pleadings

or other papers as required by law. Thjs form, approved by the ludicial Conferenoe offhe United Statcs in September 1974, is required pursuant to Looal Rule 3-1 is not filed
hut is used by the Clerk oftlie Court for the purpose of statistics venue and initiating the civil docket sheetl (For more detailed instructionsl see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Ahbrevlation Substantive Statement of Csuse of Aetion

861 Hle All claims for health insurance benefits (Medicare] under Title 18, Part A, of the Social Security Act, as amended
Also', include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
pregrm. 142 U.s.o. 1935FF(11))

862 BL All claims for “Black Lurlg” benefits under Title 4, Patt B, of the Federal Coal Mine Hcalth and Safety Act of 1969
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Soeial Seeurity Act, as
amendcd; plus all claims filed for ohild‘s insurance benefits based on disabilityl (42 U.S.C. 405(g])

863 DIWW All claims filed for Widows or widowcrs insurance benefits based on disability under Title 2 of the Social Seeurity
Act, as s.l:nendedl (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under 'l`itle 2 of the Soeial Security Act, as srnendcd. (42
U-S-C- 1311

 

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Cas`e 2:12-cV-10615-GHK-AGR Document 1 Filed 12/11/12 Page 10 of 10 Page |D #:16

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Telephone: (855) 301-2100 Ext. 5514
Facsimile: (203) 653-3424

 

 

UNITED STATES I)ISTR]CT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER

PLAMIFFCS) CV].Z"l-[]él§"§§

Daniel Perez,

V.

 

The Hartford Life and Accident Insurance
Company; and DOES l-lO, inclusive,

DEFENDANT(S) . SUMMONS

 

 

TO: DEFENDANT(S): The Hartford Life and Accident Insurance Company

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached fZ[ complaint ij amended complaint
C| counterclaim |I cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’s attorney, Tammy Hussin, of counsel Lemberg & Associates, whose
address is 6404 Merlin Drive. Carlsbad. CA 92011. If you fail to do so, judgment by default will be entered
against you for the relief demanded in the complaint You also must file your answer or motion With the court.

DEC ll 2012
Dated:

 

 

(Seal ofthe Court)

[Use 60 days if the defendant is the Unir`ed States or a Unired States agency, or is an ojjficer or employee ofthe Um`ted States. Allowed
60 days by Rule 12(¢1)(3)].

CV-DI.A (12f07) SUMM'ONS

